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                                                                  U.S . DISTRICT COUR
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                  UNITED STATES DISTRICT COURT
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                 SOUTHERN DISTRICT OF GEORGI LERK
                                                                    SO . 015T. OF GA.
                         STATESBORO DIVISIO N


JERMAINE McKEEVER, )

      Movant,                         )

v.    )        Case                    No . CV607-006
                                        [Underlying CR604-010]
UNITED STATES OF AMERICA,             )

      Respondent .


                                   ORDER

      After a careful de novo review of the record in this case, the Cour t

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of th e

Court .

      SO ORDERED this day of




                                            UNITED STATE # JUDGE
                                            SOUTHERN DI RICT OF GEORGIA
